Case 3:22-cv-00085-ZNQ-RLS                         Document 48      Filed 09/09/24   Page 1 of 1 PageID: 116
                                                                                     SAMUEL I. PORTNOY
                                                                                     Director

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                                                      September 9, 2024

 VIA ECF
 Hon. Rukhsanah L. Singh, U.S.M.J.
 Clarkson S. Fisher Building
 & U.S. Courthouse
 402 East State Street, 7W
 Trenton, New Jersey 08608

            Re:        Capelogic, Inc. v. Markit Group Limited, No. 22-cv-85 (ZNQ-RLS)

 Dear Judge Singh:
       In accordance with Your Honor’s Order dated June 21, 2024 [Dkt. No. 47], Capelogic, Inc.
 and Markit Group Limited respectfully submit this joint status letter.

        The parties have identified the fact witnesses they plan to depose. They plan to conduct
 the depositions this month and next and are working to finalize dates.

            The parties thank the Court for its continuing attention to this matter.

                                                    Respectfully submitted,

  s/ Samuel I. Portnoy                                          s/ Willard C. Shih
  Samuel I. Portnoy                                             Willard C. Shih
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 cc: All Counsel of Record (via CM/ECF)




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